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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                        )
                                                     )
                   Plaintiffs,                       )
                                                     )
vs.                                                  )    No. 1:17-cv-00365-DAE-AWA
                                                     )
GRANDE COMMUNICATIONS                                )
NETWORKS LLC,                                        )
                                                     )
                   Defendant.
                                                     )

               PLAINTIFFS’ OBJECTIONS AND COUNTER-DESIGNATIONS TO
               DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
                             DEPOSITION DESIGNATIONS

            Plaintiffs submit the following Objections and Counter-Designations to Defendant Grande

Communications Networks, LLC’s Deposition Designations pursuant to the Court’s Order

Resetting Jury Trial and Related Deadlines (ECF No. 366). Plaintiffs reserve the right to amend

these objections and counter-designations, and to interpose additional objections and counter-

designations, based on evidence or arguments that Grande presents or attempts to present at trial.

      Code             Objection
      A                Argumentative
      ATTY             Attorney objections/colloquy not removed
      AA               Asked and answered/duplicative
      BER              Best Evidence Rule
      C                Compound
      CC               Calls for conclusion
      D                Designation incomplete; incomprehensible
      IH               Improper hypothetical
      SM               Subject to a pending/forthcoming motion
      M                Misstates prior testimony
      NR               Non-responsive
      O                Overbroad
      V                Vague and ambiguous
      30(b)(6)         Outside the scope of the Fed. R. Civ. Proc. 30(b)(6) deposition topics for
                       which witness was designated
      103              Assumes facts not in evidence
      104              Lacks foundation

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402            Not relevant
403            Probative value is substantially outweighed by a danger of unfair prejudice,
               confusing the issues, misleading the jury, undue delay, wasting time, or
               needlessly presenting cumulative evidence.
408            Settlement Negotiations
501            Privilege
602            Calls for speculation; speculative
611c           Leading
701            Improper opinion by lay witness
702            Improper opinion by expert
802            Hearsay
901            Not properly authenticated



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Dated: December 30, 2021               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on December 30, 2021, all counsel of record who are
deemed to have consented to electronic service are being served with a copy of this document via
the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).


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